 Case: 1:99-cv-03356 Document #: 442 Filed: 10/27/05 Page 1 of 16 PageID #:1312




                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

U.S. EQUAL EMPLOYMENT               )
OPPORTUNITY COMMISSION.             )
                                    )
           Plaintiff,               )      No.   99 C 3356
                                    )
                   vs.              )      Judge Warren K. Urbom
                                    )
THE DIAL CORPORATION,               )
                                    )
           Defendant.               )


                  FINAL REPORT OF THE CONSENT DECREE
                 MONITORS TO THE PARTIES AND THE COURT
  Case: 1:99-cv-03356 Document #: 442 Filed: 10/27/05 Page 2 of 16 PageID #:1313




                      FINAL REPORT OF THE CONSENT DECREE
                     MONITORS TO THE PARTIES AND THE COURT

                                       George F. Galland, Jr.
                                        Reginald E. Jones
                                         Nancy B. Kreiter



       We were appointed as Decree Monitors pursuant to the Consent Decree agreed to

between the Equal Employment Opportunity Commission and Dial Corporation in case no. 99-C

3356 in the United States District Court for the Northern District of Illinois. This lawsuit alleged

a pattern and practice of sexual harassment of employees at Dial’
                                                                s plant in Montgomery, Illinois,
near Aurora.

       Paragraph 44 of the Decree provides:

       Within two (2) months after the appointment of the Decree Monitors, they will: (i)
       evaluate all existing employment policies, procedures, and practices that are related to the
       objectives contained in the Statement of Intolerance of Sexual Harassment and this
       Decree; and (ii) after consultation with EEOC and Dial, make recommendations for any
       changes to such existing policies, procedures and practices that the Decree Monitors
       believe is necessary or appropriate. The Decree Monitors shall report their findings and
       recommendations to EEOC and Dial.

On August 29, 2003, after obtaining a one-month extension, we issued to Dial and to the EEOC

the Two Month Report required by paragraph 44.

       Paragraph 47 of the Decree provides:

       Within one (1) year after appointment, the Decree Monitors shall complete their own
       review and evaluation of all current employment policies and practices, and shall submit a
       written report to EEOC, Dial and the Court setting forth the following information:

       (i)     an assessment of whether Dial has successfully implemented each specific
               policy/practice agreed upon in paragraph 39 above;

       (ii)    for each specific policy/practice that has not been successfully implemented, a
               statement discussing the reason for Dial’  s failure to implement such change;

       (iii)   an evaluation of the impact of the specific changes made pursuant to this Decree;




                                                  2
  Case: 1:99-cv-03356 Document #: 442 Filed: 10/27/05 Page 3 of 16 PageID #:1314




       (iv)    an assessment of the effectiveness of Dial’
                                                         s policies and practices for the
               achievement of Dial’s Statement of Intolerance of Sexual Harassment;

       (v)     recommendations for any changes to existing practices, policies or programs or
               any additional policies, practices or programs that the Decree Monitors deem
               necessary or appropriate for achieving Dial’ s Statement of Intolerance of Sexual
               Harassment and the terms of this Decree; and

       (vi)    timetables for implementation and completion of compliance with any of the
               recommendations, subject to the terms of this Decree.

       We issued the One Year Report required by this paragraph on May 26, 2004. We found

Dial in compliance with all significant obligations under the Consent Decree. We found that “
                                                                                            All

evidence available to us shows that sexual harassment and related retaliation are not significant

problems at the plant at the present time, and that if incidents do occur and are brought to

management’
          s attention, they will be dealt with promptly and appropriately.”We made certain

recommendations for further improvements.

       Paragraph 47 of the Decree, after the provisions quoted above, provides that “
                                                                                    At the end

of the second year and then again at the end of the duration of this Consent Decree, the Decree

Monitors shall submit a report to EEOC, Dial and the Court setting forth the same information

described herein.”We issued the Second Year Report on May 20, 2005. We again found that

Dial was in compliance with all aspects of the Decree and that “
                                                               there has been no evidence over

the past year of any significant sexual harassment problem in the plant.”

       The present report will be our final report before the Decree expires by its terms at the end

of October 2005. To prepare this report, we reviewed the entire record of Dial’
                                                                              s actions under

the Decree from its inception; visited the plant again on August 30, 2005, where we interviewed

over 40 employees chosen by random selection; reviewed new training materials prepared by an

outside vendor for purposes of conducting “
                                          refresher”training on Dial’
                                                                    s No Harassment or

Retaliation Policy and annual supervisory training; and sought and obtained from Dial certain

supplemental information. As a result of our activities, we believe we have a detailed and

accurate perception of how Dial’
                               s written policies actually function in practice, what the situation




                                                 3
     Case: 1:99-cv-03356 Document #: 442 Filed: 10/27/05 Page 4 of 16 PageID #:1315




is on the plant floor with respect to control of sexual harassment, and how employees themselves

perceive Dial’
             s policies in this area.

         As discussed in this report, we conclude that Dial has complied throughout the two and a

half years of this Decree with the specific obligations imposed on it, and that episodes of sexual

harassment continue to be rare in the plant and are dealt with appropriately when brought to

management’
          s attention. The recommendations we have made during the duration of this Decree

have been small both in number and in scope, and Dial has adopted them. Continuation of its

present policies once the Decree expires should keep Dial in a good position to avoid problems of

sexual harassment in the future.


I.       CUMULATIVE REVIEW OF DIAL’
                                  S ACTIONS TO COMPLY WITH
         OBLIGATIONS FROM PARAGRAPH 39 OF THE DECREE


         A.     Distribution of the Settlement Fund
         The Decree assigned the Monitors no role in the processing of claims against the

Settlement Fund. However, our experience suggested to us that claims processes of this nature

have the potential of creating problems on the plant floor arising from resentment of those who

received settlement payments. Our interviews of employees led us to conclude that at Dial the

process went smoothly and that there was no evidence that participants in the claims process
suffered any form of retaliation for doing so.



         B.     Revision to Sexual Harassment Policy
         The No Harassment Policy that existed as of the date of the Consent Decree was a brief

document that applied to not only sexual harassment but all forms of EEO-related harassment

covered by federal, state, or local law. Paragraph 39(a) of the Consent Decree required Dial to:

         revise its No Harassment Policy, as necessary, in order to: (i) provide examples to
         supplement the definitions of sexual harassment; (ii) include strong non-retaliation
         language with examples to supplement the definition of retaliation, and provide for



                                                  4
  Case: 1:99-cv-03356 Document #: 442 Filed: 10/27/05 Page 5 of 16 PageID #:1316




       substantial and progressive discipline for incidents of retaliation; (iii) provide that
       complaints of sexual harassment and/or retaliation will be accepted by Dial in
       writing and orally; (iv) provide a timetable for reporting sexual harassment and
       retaliation, for commencing an investigation after a complaint has been made or
       received and for remedial action, if any, to be taken upon conclusion of an
       investigation; and (v) indicate that, promptly upon the conclusion of its
       investigation of a complaint, Dial will communicate to the complaining party the
       results of the investigation and the remedial actions taken or proposed, if any, so
       long as the complainant agrees to keep any disciplinary action taken confidential.

Pursuant to this provision, Dial submitted to the Monitors a proposed revision of its policy. The

Monitors suggested certain changes and additions, and agreement was reached on a final version

which complies fully with ¶39. In our initial report we recommended that Dial immediately
distribute the revised policy to all employees in the plant, with a written request to read it and

return, within a short number of days to be determined by Dial, a written acknowledgment that

they have received and read it, and post the policy in the plant in place of the superseded policy.

Dial implemented this recommendation.



       C.      Complaint Procedures
       As required by ¶39(b)(i), the revised Policy designated two Human Resources Department

officials and their telephone numbers as persons who can be contacted. Dial has kept this section

of the Policy updated when the relevant officials changed.

       As also required by ¶39(b)(i), Dial has kept its 24 Hour Complaint Hotline in place. We
reviewed the written and on-line materials which are available to employees and the manner in

which employees could use the system to make a complaint. We also interviewed the responsible

individuals within Dial Corporation charged with oversight of the 24-hour hot line system,

including the assistant corporate secretary. The Hotline is a system for receiving complaints from

employees throughout the Dial organization. The system is not limited to complaints of sexual

harassment. Complaints can be made by the toll free telephone number (the number is

prominently posted on a banner in the plant, and in the printed No Harassment/ Retaliation

Policy), or by filing a complaint online. Dial uses an outside contractor (Ethics Point) to receive



                                                   5
  Case: 1:99-cv-03356 Document #: 442 Filed: 10/27/05 Page 6 of 16 PageID #:1317




such complaints and transmit them to Dial. In practice, this Hotline has been used by employees

across the corporation but has rarely, if ever, been used to report a complaint of sexual

harassment. Of the five internal complaints of sexual harassment or related retaliation that were

received by Dial from the Montgomery plant while the Decree has been in effect, only one was

received through the Hotline.

        In the course of reviewing the on-line method of reporting a complaint, the Monitors

noticed that employees were required to sign a waiver and disclaimer before filing an on-line

complaint. This led us to ask whether such a practice could act as a disincentive to an employee

actually making a complaint, and in turn to ask about Dial’
                                                          s methods to assure confidentiality of

complaints made to the Hotline. Dial officials satisfied us that safeguards are in place to protect

confidentiality of any employee who chooses to complain through the Hotline, whether by phone

or on-line. We asked a number of employees about the Hotline in our interviews and found no

evidence of any distrust of this mechanism.

        ¶39(b)(ii) required Dial to assure that complainants will be interviewed about their

complaints in such a manner that permits the complaining party, at her or his election, to provide

information in a confidential manner. To this end, the revised Policy explicitly guarantees

complainants and witnesses “
                           the opportunity to provide information in a confidential manner, such

as providing the information outside of their work area.”

        ¶39(b)(iii) imposed a best-efforts requirement of three weeks to complete investigations of
complaints of sexual harassment and retaliation, with another seven days to prepare findings of

the result of the investigation and remedial action proposed. During the two and a half years of

this Decree, there have been five such investigations. Dial met this three-week time limit for all of

them.

        ¶39(b)(iv) required Dial to allow complainants who are dissatisfied with the disposition of

a complaint the opportunity to appeal to the “
                                             Complaint Monitor.”On two of the five complaints

filed during the life of the Decree, Dial failed to inform the complainants of this opportunity. The

Complaint Monitor found out through other means of these failures, investigated them, and


                                                  6
  Case: 1:99-cv-03356 Document #: 442 Filed: 10/27/05 Page 7 of 16 PageID #:1318




concluded they were inadvertent mistakes. They represent the only occasions during the course

of this Decree in which Dial overlooked the requirements of any specific provision of the Decree.

       Aside from verifying compliance with these specific obligations, during our employee

interviews, we looked for any evidence that the present complaint procedure for sexual

harassment at the plant deters employees from making complaints if they are experiencing sexual

harassment, and found no substantial evidence of such deterrence. We asked employees whether,

if they were experiencing sexual harassment, they would report it. In the first set of interviews

conducted in early 2004, 58.8% flatly answered yes; another 35.3% said they would report

harassment if they couldn’
                         t take care of it themselves or if it was severe enough; only 5.9% said

they would not report it, and only two such persons gave distrust of management as their reason.

In the interviews of August 2005, the responses were essentially the same. As we said in our One

Year Report, in a unionized factory which has been the scene of recent sexual harassment

litigation, this seems to us to represent an encouragingly low incidence of negative responses to

this question. Employees tended to say that they would report problems in the first instance to

their immediate supervisor rather than to Human Resources.


       D.      Policies to Promote Supervisor Accountability
       Decree ¶39(c)(i) provided:

       Dial agrees that it shall impose discipline –up to and including termination,
       suspension without pay, or demotion –upon any supervisor or manager who
       engages in sexual harassment or tolerates any such conduct in his or her work area
       or among employees under his or her supervision, or who retaliates against any
       person who complains or participates in any investigation or proceeding
       concerning any such conduct. Dial shall communicate this policy to all of its
       supervisors and managers.

       During the life of the Decree, one accusation of retaliation related to an earlier sexual

harassment complaint was made by a nonsupervisory employee against a supervisor. Dial
investigated and found the charge without merit, a conclusion with which the Complaint Monitor

concurred.



                                                 7
  Case: 1:99-cv-03356 Document #: 442 Filed: 10/27/05 Page 8 of 16 PageID #:1319




       Section 39(c)(ii) required Dial to continue to advise all managers and supervisors of their

duty to monitor their work areas to ensure employees’compliance with the No Harassment or

Retaliation Policy, and to report any incidents and/or complaints of sexual harassment and/or

retaliation of which they become aware. In our First Year Report, we recommended

       that Human Resources provide ongoing guidance to supervisors to conduct
       activities in team meetings, at least on a quarterly basis beginning no later than July
       1, 2004, that promote awareness of the No Harassment or Retaliation policy and
       to conduct proactive measures to prevent sexual harassment. To prevent such
       activities from turning into a rote or perfunctory exercise that never varies in
       content, Human Resources should become involved in planning the activities that
       supervisors will be asked to conduct and should take steps to assure that
       supervisors carry out the activities as planned on a reasonable uniform plantwide
       basis. We request that the Human Resources Director apprise us of each quarter’       s
       guidance to supervisors and provide verification of supervisor compliance.

Dial accepted this recommendation and has complied with it, designing material (referred to as “
                                                                                               1-

2-3 Refresher”
             ) for supervisors’use in quarterly team meetings that were conducted in September

and October 2004, December 2004, March 2005, and June 2005. In our Two Year Report, we

again recommended that Dial vary the material used in these quarterly meetings, and Dial did so.

We received favorable feedback from employees in interviews about the use of supervisors’team

meetings to revisit the No Harassment or Retaliation Policy. We recommend that this process

continue once the Decree ends.

       In ¶39(c)(iii), Dial agreed to “
                                      use in its supervisor appraisal process, an evaluation of the

supervisor’
          s handling of equal employment opportunity (“
                                                      EEO”
                                                         ) issues, and to link such

evaluations directly to supervisor salary/bonus structure.” In our initial report, we recommended

that Dial revise its current performance evaluation form and related materials to incorporate

appropriate language to assure that the supervisor’
                                                  s handling of equal employment opportunity

issues is specifically addressed during the appraisal process. Dial revised the form as requested.

Thereafter, Dial periodically provided us with copies of specific material (with names of evaluated
employees deleted) that commented in any manner on specific supervisors’performance or

nonperformance in the area of EEO. Dial has seen no occasion to conduct criticism of



                                                 8
  Case: 1:99-cv-03356 Document #: 442 Filed: 10/27/05 Page 9 of 16 PageID #:1320




supervisors on this score in these evaluations and we have seen no episodes that we thought

merited such formal criticism.

       In ¶39(c)(iv), Dial agreed to use “
                                         commitment to equal employment opportunity”as a

criterion for qualification for supervisory positions. The Decree does not elaborate on this

requirement, which raises two issues. The first is: how is this “
                                                                criterion”applied when Dial

promotes someone from a nonsupervisory position into a supervisory position? The second issue

is: how is this “
                criterion”applied when Dial promotes management or supervisory people to

higher-level management or supervisory positions? In both situations, the wording of ¶39(c)(iv)

seems to assume a formalized promotion process in which formal “
                                                               criteria”are applied to

candidates for promotion, whereas, like many employers, Dial has not formalized to that extent its

promotion process for supervisory or higher-level management positions.

       Whatever Dial’
                    s techniques for such promotions, ¶39(c)(iv) clearly requires taking steps

to assure that persons known or suspected to have been sexual harassers do not get promoted

into these positions. (This is mainly an issue for promotion of supervisors to higher-level

supervisory positions, because in recent years, it has been extremely rare to promote hourly

workers into a supervisory salaried position. Dial now fills most such entry-level supervisory

positions by hiring persons with engineering backgrounds from outside.) The Human Resources

Director participates in all promotions or hirings to management positions. She assures us that

her participation is sufficient to assure that any persons who are known or suspected to have
engaged in sexual harassment, or otherwise have negative experience in the area of EEO, will be

flagged in the process and will not be granted the promotion. Given that the plant is not large and

such promotions are rare, we see no reason to suggest any more formal process for applying the

“
criterion”of ¶39(c)(iv).



       E.      Sexual Harassment Training




                                                 9
  Case: 1:99-cv-03356 Document #: 442 Filed: 10/27/05 Page 10 of 16 PageID #:1321




        Under ¶39(d)(i), Dial must continue to provide mandatory sexual harassment prevention

training annually to all supervisors at the plant, to provide training to all new employees during

employee orientation, to provide training to all “
                                                 senior management officials,”and to all Dial

employees who are to be assigned to work at the plant, before their assignment begins.

        As we noted in our First Year Report, Dial went beyond the requirements of this

paragraph. In particular, the Decree does not specifically require sexual harassment prevention

training of all nonsupervisory workers at the plant, but in the first year of the Decree Dial

conducted such training through an on-line sexual harassment prevention training course

developed by Seyfarth Shaw At Work. We reviewed this course, as well as another on-line

course developed to satisfy the Decree’
                                      s requirement of annual sexual harassment prevention

training for supervisors. We found both on-line courses well done. We suggested certain minor

changes which Dial made wherever they could be adapted within the particular training product.

        In our One Year Report, we recommended that the company immediately follow up to

assure that on-line training is given to employees who for one reason or another, such as absence

or technological barriers, missed the first round, since we became aware through interviews of

people who did miss the training for such reasons. Dial complied with this recommendation and

notified us of the results.

        Our One Year Report also recommended that Dial design a refresher version of sexual

harassment prevention training to be given every one to two years. Dial agreed with this
recommendation and specifically has agreed to provide refresher training for nonsupervisory

employees in the fall of 2005. In both the One Year Report and Second Year Report, we

recommended that strong consideration be given to including live discussion in the next version of

that training. Dial did give consideration to this request but ultimately decided to purchase a

“
refresher”on-line course designed by the same vendor who designed the on-line basic course.

Given the extremely low incidence of any allegations of sexual harassment at the plant at the

                                                                             s“
present time, we accepted this decision. On-line training is now part of Dial’ culture.”Although




                                                  10
 Case: 1:99-cv-03356 Document #: 442 Filed: 10/27/05 Page 11 of 16 PageID #:1322




our employee interviews produced much support for a “
                                                    refresher”course, there was no clear

consensus that live training would be more valuable than on-line training.

       We reviewed an early “
                            draft”version of the refresher on-line training course. It had not

yet been customized for Dial Corporation but will be customized. In general we found the

product adequate but not as well designed as the “
                                                 complete”version of the on-line courses. We

made suggestions to improve it. Dial passed on these suggestions to the vendor. Some proved

technically feasible at an acceptable cost and will be made, while others did not. Dial informs us

that the refresher on-line course will be given shortly after the Decree expires.

       Decree ¶39(d)(i) expressly requires training for all new hires during employee orientation.

In connection with this obligation, our One Year Report noted that “
                                                                   Dial complies by having its

Human Resources Manager review the No Harassment or Retaliation Policy with new hires

during the orientation process,”and recommended that “
                                                     henceforth Dial give the appropriate on-

line course to new hires and employees transferred to the Montgomery plant who have not taken

that course before.”Dial complied with this recommendation.

       The same section also required that where Dial reassigns employees from another facility

to the Montgomery plant, it provide sexual harassment training to those employees before moving

them to the plant. Dial can comply with the letter of this obligation merely by following its

existing practice of including training in sexual harassment during new employee orientation for

all employees at all facilities. But in any case, there has been training for employees transferred
into the plant from elsewhere during the period of the Decree.

       Decree ¶39(d)(i) expressly requires mandatory sexual harassment prevention training

annually for all supervisors at the plant. In fall 2004 Dial complied with this requirement by

repeating the on-line course for supervisors, and as discussed above it is developing a new on-line

course for this purpose in 2005. In the Second Year Report we recommended that strong

consideration be given to including live discussion in the next version of supervisory training, but

Dial decided to stay with the on-line format, for reasons similar to those discussed above in

connection with “
                refresher”training.


                                                  11
 Case: 1:99-cv-03356 Document #: 442 Filed: 10/27/05 Page 12 of 16 PageID #:1323




       The Decree also required that Dial provide training to all persons at the plant charged with

the handling of sexual harassment and retaliation, to be given by “
                                                                  experienced sexual harassment

educators and/or investigators.”Seyfarth Shaw At Work provided such training on October 29,

2003 for Dial’
             s Human Resources and Employee Relations managers, including from the

Montgomery Plant.


       F.      Miscellaneous
       In our First Year Report we commented on Dial’
                                                    s internal policy discouraging romantic

relationships between supervisors and subordinates and recommended that Dial take, within 30

days, whatever concrete steps it deemed necessary to disseminate and reinforce to its supervisors

the existence and importance of this policy, and to inform us of the actions taken. In response,

Dial told supervisors at a July 2004 supervisor meeting that it had a policy against dating among

supervisors and subordinates when there is a direct reporting relationship between the two

individuals. It instructed supervisors that if they find themselves in this situation, s/he must advise

Human Resources, and that Dial would then manage the situation on a case by case basis in a way

that minimizes the effect on employee morale and productivity from both the standpoint of

coworkers and the two employees involved in the relationship.

       Despite stating this policy orally to supervisors, however, Dial did not put this policy into
writing. In our employee interviews in August 2005, we encountered employees who said that

that dating between supervisors and subordinates continued to occur in the plant and who were

not aware of Dial’
                 s anti-dating policy. We discussed this matter with Dial. Dial then formulated a

simple and clear written statement of its policy and informed us that it intends to distribute that

policy to its supervisors. We concur with this plan and also recommend that the policy be

distributed to all employees in the plant and covered in training and “
                                                                      1-2-3 Refresher”materials.




                                                  12
  Case: 1:99-cv-03356 Document #: 442 Filed: 10/27/05 Page 13 of 16 PageID #:1324




II.     THE CURRENT CLIMATE IN THE PLANT WITH RESPECT TO CONTROL
        OF SEXUAL HARASSMENT
        The Decree requires this Final Report, like earlier reports, to assess “
                                                                               the effectiveness of

Dial’
    s policies and practices for the achievement of Dial’
                                                        s Statement of Intolerance of Sexual

Harassment.”

        As with earlier reports, all evidence available to us shows that sexual harassment and

related retaliation are not significant problems at the plant at the present time, and that if incidents

do occur and are brought to management’
                                      s attention, they will be dealt with promptly and

appropriately.

        First, the incidence even of complaints about sexual harassment or related retaliation has

been remarkably low throughout the Decree. In thirty months there have been only five such

complaints to management by employees –an average of one every six months. Of these five

complaints, management concluded in three cases that there had been a violation of the No

Harassment or Retaliation Policy and imposed discipline, including discharge in two cases. In the

remaining two, management did not impose discipline, finding the complaint without merit in one

case and in another case finding that witnesses identified by the complainant did not support the

complainant’
           s account. In all cases, in our view, management reacted appropriately to the

situations that were brought to its attention.

        Second, there have been no complaints of sexual harassment or related retaliation to

agencies outside of Dial throughout the life of the Decree.

        Third, both sets of employee interviews (February 2004 and August 2005) confirmed that

employees do not believe that sexual harassment is common at the plant. The results of the latest

interviews include the following:

        1.       We asked employees whether they believed sexual harassment was a serious

problem in the plant at the present time. The overwhelming majority of employees expressed

strong opinions to the effect that the plant today is free of sexual harassment and that it is now

punished severely by management when it comes to management’
                                                           s attention.



                                                   13
  Case: 1:99-cv-03356 Document #: 442 Filed: 10/27/05 Page 14 of 16 PageID #:1325




         2.     We asked employees if they had experienced sexual harassment themselves since

the settlement. Three out of the 42 employees who answered this question answered “
                                                                                  yes.”Two

of those employees brought the matter to management’
                                                   s attention, and in our view, management

reacted quickly and appropriately to the matter. The third did not report the matter in question.

         3.     We asked employees not only about their own experience but also whether they

had seen any other employees being sexually harassed since the settlement took effect. Three out

of the 43 employees who answered this question said “
                                                    yes.”One of these, however, reported an

incident that took place several years before the settlement. In the other two cases, the matter

was reported to management, with resulting action referred to above.

         4.      We asked if there had been any change in the environment for women in the plant

over the last two or three years. A majority of both genders answered yes, and every such

respondent said the change had been for the better. As with the answers to this question in our

2004 interviews, persons who perceived an improvement in the plant in recent years tended to

attribute the improvement to the litigation (even though employees continued to have varying

opinions about how valid the claims made in the litigation were) and to a clear policy with strict

consequences for its violation. Employees in these latest interviews commented extensively on

their belief that persons who are found to have engaged in sexual harassment can expect to be

fired.

         As we commented in earlier reports, the generally favorable views employees expressed
about the current control of sexual harassment at the plant should not be cause for complacency.

The latest interviews continued to produce occasional comments about men who make

objectionable comments and sexual innuendo, even after the litigation and even after the sexual

harassment prevention training. Many women said that they would be reluctant to report such

low-level misconduct and would do so only if they could not take care of the matter themselves or

if the misconduct was severe.

         We therefore repeat our earlier comment that the best way to deal with this inevitable

dilemma is to assure that first-line supervisors are alert to the way men and women deal with each


                                                 14
  Case: 1:99-cv-03356 Document #: 442 Filed: 10/27/05 Page 15 of 16 PageID #:1326




other on the factory floor, and to detect and put a stop to problems involving disrespectful speech

or other conduct that may violate Dial’
                                      s policy before those problems develop into possible claims

of sexual harassment. There is a certain degree of violation of Dial’
                                                                    s No Harassment and

Retaliation policy at which it is unrealistic to expect that employees will report the matter to

Human Resources or anywhere else and thereby put the offender at risk of being fired. Such

conduct can be seriously offensive to employees at whom it is directed even though they are

reluctant to report it, and if it becomes habitual it can lead to more serious problems for

employees and the company. Our experience is that in the absence of appropriate vigilance by

first line supervisors, and in the absence of appropriate punishment of sexual harassment when

reported, there is always a significant danger in any factory environment for sexually harassing

behavior to become unacceptably common. It is therefore important for supervisors to be

vigilant.

        As with earlier interviews, most employees we interviewed told us that they believed their

own supervisors were effective in administering Dial’
                                                    s No Harassment/Retaliation policy. If this

continues to be the case, and if Dial continues to deal with appropriate severity with those

episodes that are reported and where violations are found, the current satisfactory state of affairs

with respect to the control of sexual harassment can be expected to continue.



                                                       /s/ George F. Galland, Jr.
                                                       GEORGE F. GALLAND, JR.


                                                       /s/ Reginald E. Jones
                                                       REGINALD E. JONES


                                                       /s/ Nancy B. Kreiter
                                                       NANCY B. KREITER

October 26, 2005




                                                  15
 Case: 1:99-cv-03356 Document #: 442 Filed: 10/27/05 Page 16 of 16 PageID #:1327




                               CERTIFICATE OF SERVICE

        The undersigned, under penalty of perjury, certifies that on October 26, 2005, a copy of
the foregoing FINAL REPORT OF THE CONSENT DECREE MONITORS TO THE PARTIES
AND TO THE COURT was served on all attorneys of record electronically pursuant to ECFS.


                                                   /s/ George F. Galland, Jr. __________




                                              16
